            Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 1 of 13




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
                              PHILADELPHIA DIVISION

                                                :
PASSION WALKER,                                 :
                           Plaintiff            :    Case No.:
                                                :
                  VS.                           :    NOTICE OF REMOVAL OF ACTION
                                                :    UNDER 28 U.S.C. §§ 1331 AND 1441
CHESTER COMMUNITY CHARTER                       :    (FEDERAL LAW CLAIMS)
SCHOOL AND EASTSIDE MIDDLE                      :
SCHOOL,                                         :
                  Defendant                     :

            NOTICE OF REMOVAL OF DEFENDANT CHESTER COMMUNITY
                             CHARTER SCHOOL

       PLEASE TAKE NOTICE that defendant Chester Community Charter School through

undersigned counsel, hereby removes the above-captioned action from the Philadelphia County

Court of Common Pleas to the United States District Court for the Eastern District of

Pennsylvania, Philadelphia Division, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446. In support

thereof, defendant avers as follows:

       1.       On or about November 30, 2021, Plaintiff Passion Walker commenced this action

against Chester Community Charter School through the filing of a Praecipe for Writ of Summons

in the Philadelphia County Court of Common Pleas, which case now bears case number

November Term, 2021, No. 002218. Plaintiff’s Writ of Summons did not identify a cause of

action. Plaintiff filed a Complaint on or about February 18, 2022.

       2.       Pursuant to 28 U.S.C. § 1441, this case is properly removed to this Court because

Chester Community Charter School has satisfied the procedural requirements for removal and

this Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331.




                                               -1-
            Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 2 of 13




I.     CHESTER COMMUNITY CHARTER SCHOOL HAS SATISFIED THE
       PROCEDURAL REQUIREMENTS FOR REMOVAL

       3.       The Complaint was served on Chester Community Charter School February 18,

2022. Accordingly, this Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b).

       4.       The Philadelphia County Court of Common Pleas is located within the Eastern

District of Pennsylvania, Philadelphia Division. 28 U.S.C. § 118(a). Venue within the Eastern

District is proper because the district “embrac[es] the place where [the] action is pending.” 28

U.S.C. § 1441(a).

       5.       No previous application has been made for the relief requested herein.

       6.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served upon the defendant, which papers include the summons and complaint, is attached as

Exhibit A. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon counsel for plaintiff and a copy is being filed with the clerk of the Philadelphia County

Court of Common Pleas.

II.    REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
       JURISDICTION PURSUANT TO 28 U.S.C. §§ 1331 and 1441.

       7.       This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because Plaintiff

purports to assert civil claims under Constitution and/or laws of the United States in each of the

three counts of her Complaint. All counts of the Complaint assert that Defendant violated

Plaintiff’s constitutional rights pursuant to 42 U.S.C. § 1983. See Complaint, Counts I-III.

       8.       By this Notice of Removal, Defendant does not waive any objections that they

may have to service, personal jurisdiction, or venue, or any other defenses or objections that they

may have to this action. Defendants intend no admission of fact, law, or liability by this Notice

and reserve all defenses, motions, and/or pleas.




                                               -2-
            Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 3 of 13




       9.       This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of

Civil Procedure. See 28 U.S.C. § 1446(a).

       WHEREFORE, defendant Chester Community Charter School respectfully removes this

action, bearing case number November Term, 2021, No. 002218 from the Philadelphia County

Court of Common Pleas pursuant to 28 U.S.C. § 1441.

Dated this 7th day of March, 2022.

                                                     Respectfully submitted,

                                                     Eckert Seamans Cherin & Mellott, LLC


                                                     ______________________

                                                     Joshua D. Hill, Esquire (#93772)
                                                     Andrew J. Bond, Esquire (#322764)
                                                     50 South 16th Street
                                                     Two Liberty Place, 22nd Floor
                                                     Philadelphia, PA 19102
                                                     215.851.8000 – telephone
                                                     215.851.8383 – facsimile

                                                     Attorney for Defendant,
                                                     Chester Community Charter School




                                               -3-
          Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 4 of 13




                                  CERTIFICATE OF SERVICE

                I, Andrew J Bond, hereby certify that on this date, a true and correct copy of the

Notice of Removal of Defendant Chester Community Charter School was served upon the

following via United States first class mail:


                                        Gregg L. Zeff, Esquire
                                         100 Century Pkwy
                                              Suite 160
                                        Mt. Laurel, NJ 08054
                                        gzeff@glzefflaw.com

                              and via regular mail upon the following:

                                       Eastside Middle School
                                          214 E. 5th Street
                                        Chester, PA 19013




                                                _____________________________
                                                Andrew J. Bond


Dated: March 7, 2022




                                                 -4-
Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 5 of 13




                   EXHIBIT A
                            Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 6 of 13                         Summons
                                                                                                                   Citacion

                                             Commonwealth of Pennsylvania
                                                 COUNTY OF PHILADELPHIA
                                                                                Filed and Attested by the
                                                                               Office of Judicial Records
                                                                                   30 NOV 2021 12:15 pm
          Passion Walker                                     :                           M. RUSSO
                                                                     COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :       November        Term, 20 21
                                                             :
                                     vs.                     :
                                                             :       No.
                                                             :
          Chester Community Charter School                   :
          Defendant



              To 1
              Chester Community Charter School
              214 E. 5th Street

              Chester, PA 19013




                                                  Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Passion Walker
              5516 Hadfield Street
              Philadelphia, PA 19143


              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      211102218
                                                                                                    30 NOV 2021 12:15 pm
                                                                                                          M. RUSSO
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 211102218
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 7 of 13




                  Court of Common Pleas
                       November        Term, 20 21

                               No.




                   Passion Walker
                   Plaintiff
                                     vs.

                   Chester Community Charter School
                   Defendant




                               SUMMONS




                                                                Case ID: 211102218
           Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 8 of 13




ZEFF LAW FIRM, LLC                                                        Filed and Attested by the
Gregg L. Zeff, Esquire #042531988                                        Office of Judicial Records
Eva C. Zelson, Esquire #153832015                                            18 FEB 2022 03:46 pm
Derek J. Demeri, Esquire #363922021                                               A. STAMATO
100 Century Parkway
Mt. Laurel, NJ 08054
(856) 778-9700 (t)
(856) 702-6640 (f)
gzeff@glzefflaw.com
Attorneys for Plaintiff

                             IN THE COURT OF COMMON PLEAS
                                  PHILADELPHIA COUNTY

 P.W.,

                                  Plaintiff,
                                                     CIVIL ACTION NO. 211102218
 v.

 CHESTER COMMUNITY CHARTER                           JURY TRIAL DEMANDED
 SCHOOL,
 214 E. 5th Street
 Philadelphia, PA 19143

                                  Defendant.

                                        CIVIL COMPLAINT



                                               PARTIES

      1. Plaintiff P.W. is an adult individual residing at the above address. At the time of the

         incidents described herein, P.W. was a minor. Plaintiff is identified only by initials to

         protect her identity as a victim of sexual assault.

      2. Defendant Chester Community Charter School (CCCS) was at all relevant times

         responsible for the care and safety of Plaintiff while she was a student at CCCS.




                                                                                              Page 1
                                                                                             Case ID: 211102218
      Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 9 of 13




                             JURISDICTION AND VENUE

3. Jurisdiction is properly laid in this Court as CCCS is subject to personal jurisdiction in the

   Commonwealth of Pennsylvania.

4. The facts alleged herein arise out of CCCS’s acts and/or omissions, which occurred in

   Philadelphia County, Pennsylvania.



                                  STATEMENT OF FACTS

5. P.W. was born on December 18, 2001.

6. On or around February 10, 2015, P.W. was a student enrolled in CCCS Eastside Middle

   School.

7. On or around February 10, 2015, P.W. was on a bus going to or from CCCS Eastside

   Middle School.

8. Upon information and belief, this was Bus Route 25.

9. Derek Hodges, a student enrolled in CCCS, was also on this bus.

10. On or around February 10, 2015, Derek Hodges sexually assaulted P.W. by attempting to

   place his hand up her skirt.

11. P.W. fought Derek Hodges off to prevent further assault.

12. P.W. may have seen E.W., a friend sitting next to her on the bus, also get sexually assaulted

   by Derek Hodges.

13. While Derek Hodges was committing this sexual assault, several of his friends who

   attended CCCS’s high school were cheering him on.

14. Upon information and belief, some or all of Derek Hodges’ friends from CCCS’s high

   school were not supposed to be on that bus.



                                                                                          Page 2
                                                                                        Case ID: 211102218
     Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 10 of 13




15. During this incident, the bus driver did not attempt to intervene and was wearing

   headphones.

16. After the sexual assault, P.W. ran off the bus.

17. Upon information and belief, Derek Hodges also sexually assaulted another student S.S.

18. When P.W. was in the second grade, Derek Hodges attempted to touch her against her will.

19. CCCS was aware of Derek Hodges previous sexual assaults before allowing him on Bus

   Route 25 on or about February 10, 2015.

20. As a result of the sexual assault on or about February 10, 2015, P.W. had performance

   issues while enrolled in CCCS Eastside Middle School.

21. P.W. turned eighteen years of age on December 18, 2019.

22. On November 30, 2021, P.W. filed a writ of summons against CCCS.



                                     COUNT I
                                  42 U.S.C. § 1983
                             STATE CREATED DANGER

23. Plaintiff repeats and re-alleges each and every allegation set forth in the preceding

   paragraphs of the Complaint as if fully set forth herein.

24. CCCS affirmatively acted to create a danger that would not have been present absent such

   conduct.

25. The Fourteenth Amendment to the United States Constitution guarantees Plaintiff the

   substantive due process right to be free from state-created dangers.

26. Defendants violated this right by taking affirmative steps which placed Plaintiff at

   imminent and foreseeable risk of danger and harm.




                                                                                     Page 3
                                                                                   Case ID: 211102218
     Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 11 of 13




27. The physical, emotional, developmental, psychological, and/or psychiatric harm that

   Plaintiff suffered after being so placed was foreseeable, and directly and proximately cause

   unconstitutional acts and omissions.

28. Defendant arbitrarily and capriciously deprived Plaintiff of her due process rights in the

   absence of any countervailing state interest.

29. Plaintiff's substantive due process rights to be free of state-created dangers were clearly

   established constitutional rights at the time of Defendant's acts and/or omissions, and a

   reasonable individual would have known that their acts and/or omissions would have

   violated these clearly established constitutional rights.

   WHEREFORE, Plaintiff demands judgment against Defendant plus interest, costs,

attorney’s fees, and punitive damage.



                             COUNT II
                          42 U.S.C. § 1983
           UNCONSTITUTIONAL POLICY, PRACTICE, OR CUSTOM

30. Plaintiff repeats and re-alleges each and every allegation set forth in the preceding

   paragraphs of the Complaint as if fully set forth herein.

31. As a result of CCCS’s constitutionally infirm policies, customs, and/or practices as

   described herein, P.W. has been deprived of her pursuit of life, liberty, and happiness, due

   process, and other constitutional rights in violation of the Fifth and Fourteenth

   Amendments.

   WHEREFORE, Plaintiff demands judgment against Defendant plus interest, costs,

attorney’s fees, and punitive damage.




                                                                                        Page 4
                                                                                      Case ID: 211102218
     Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 12 of 13




                                     COUNT III
                                   42 U.S.C. § 1983
                                 FAILURE TO TRAIN

32. Plaintiff repeats and re-alleges each and every allegation set forth in the preceding

   paragraphs of the Complaint as if fully set forth herein.

33. CCCS failed to properly train and/or supervise its staff members, including the bus driver

   who drove on Bus Route 25 on or about February 10, 2015.

34. As such, CCCS was deliberately indifferent, grossly negligent, wanton, and/or reckless

   with respect to the potential violations of the constitutional rights of P.W.

   WHEREFORE, Plaintiff demands judgment against Defendant plus interest, costs,

attorney’s fees, and punitive damage.


                                                                     ZEFF LAW FIRM, LLC

                                                                               /s/ Gregg L. Zeff
                                                                            Gregg L. Zeff, Esq.
                                                                          Attorneys for Plaintiff

   Dated: February 18, 2022

                                    JURY DEMAND

   Please take notice that Plaintiff hereby demands a trial by jury as to all issues.




                                                                                         Page 5
                                                                                        Case ID: 211102218
         Case 2:22-cv-00840-GJP Document 1 Filed 03/07/22 Page 13 of 13




                                        VERIFICATION

        I, ________________, verify that the statements made in this Complaint are true and
correct. I understand that false statements herein are made subject to the penalties of 18 Pa.C.S. §
4904, relating to unsworn falsification to authorities.


                                                                            __________________
                                                                            P.W.

       Dated:




                                                                                             Page 6
                                                                                           Case ID: 211102218
